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                    UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF NextGen 1.6.3
                               Eastern Division

UNITED STATES OF AMERICA
                                        Plaintiff,
v.                                                     Case No.: 1:19−cr−00567
                                                       Honorable Harry D. Leinenweber
Robert Sylvester Kelly, et al.
                                        Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, September 1, 2022:


       MINUTE entry before the Honorable Harry D. Leinenweber: Jury trial held and
continued to 9/6/22 at 10:00 a.m. Motions for judgment of acquittal [292, 293, 294] are
denied as set forth on the record. Mailed notice(maf)




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
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